Case 7:17-cr-00025-JPJ         Document 102 Filed 09/11/17              Page 1 of 1          Pageid#:
                                          1362                                 CLERK'S OFFICE U.S. DIST. COURT
                                                                                      AT ROANOKE, VA .
                                                                                           FILED

                                                                                            SEP 1 1 2017
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA                           JUL
                                                                                  BY:
                                 ROANOKE DIVISION

UNITED STATES OF AMERICA                       )
                                               )       Criminal ActionNo. 7:17CR00025
                                               )
                                               )       ORDER
REGAN DWAYNE REEDY and                         )
SUSAN ANNETTE REEDY,                           )       By: Hon. Glen E. Conrad
                                               )       United States DistriCt Judge
       Defendants.                             )


       For the reasons stated in the accompanying 111emorandum opinion, it is hereby

                                           ORDERED
                                                       '

that Regan Dwayne Reedy's September 8, 2017 submission (Docket No. 96), which the court

construes as a lJlOtion to dismiss the indictment, is DENIED.'

       The Clerk is directed to send copies of this order and the accompanying memorandum

opinion to the defendants and all counsel of record.

       DATED: This 111;;4 day of September, 2017.




                                                            United States District Judge
